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Chief of Police JACKSON POLICE DEPARTMENT Assistant Chief of Police
James E. Davis Office of the Chief of Police Joseph Wade
4 2023

: bo SS,
The purpose of this letter is to inform you that the City of Jackson Police Department previously
requested an updated evaluation conducted by your physician detailing your fitness to return to Pull Duty
by Angust 24, 2022. You requested and were given an extension for this request to September 27, 2022.
Your physical and mental health is important to us and your ability to carry out the duties and
Tesponsibilities in your job descriptive title.

Our records indicate that you were placed on Administrative Leave several years for mental health issues
related to an officer involved shooting that occur while working for the City of Jackson Police
Department. The City of Jackson Police Department has accommodated you as it relates to your
limitations in hopes that you would make a full recovery and return to Full Duty Status. Unfortunately,
you have not submitted the required paperwork from your physician to this department, stating, whether
you are able or unable to carry out the duties and responsibilities m your job iptive title.

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Therefore, the City of Jackson Police Department has no altemative but to eiploy an individual who i

ae capable of carrying out the essential functions and duties of the job requirements. In light of your medica —
condition and your inability to fulfill the obligation requirements 2s a Sergeant, the City of Jackson Police
Department has concluded that retaining and employing you in a position that you no longer qualify for is
pot an option. Effective immediately, your employment with the Jackson Police Department is terminated
pursuant to Civil Service Rule XII Section 2 Provision1.1 E-becoming physically or mentally unable to
perform. We encourage you to consider applying for a civilian position with the City of Jackson and
would be honored to assist you with this process.

You are therefore instructed to return all uniforms, keys, identification badges and other property issued
to you, but belonging to the City of Jackson, immediately. Failure to return property belonging to the City
of Jackson may result in the delay of you receiving final compensation, if any is duc.

You have ten (10) calendar days from the date of notice of termination to request in writing, a hearing
before the Civil Service Commission to determine whether such actions was or was not in good faith and
cause. The Civil Service Commission’s office is located at 100 Metrocenter Drive, Suite 102
(Metrocenter Mall).

Thank you for the commitment you made to serve and protect the citizens of Jackson

